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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

)

SHARNALLE MITCHELL, )

LORENZO BROWN , )

TITO WILLIAMS, )

COURTNEY TUBBS, )

)

Plaintiffs, )

)

Vv. )
) Case No. _

THE CITY OF MONTGOMERY, )

)

Defendant. )

)

DECLARATION OF SHARNALLE MITCHELL

1) I, Sharnalle Mitchell, am a 23-year-old resident of Montgomery, Alabama. | have
lived in Montgomery for my whole life.

2) 1 am a single mother of two children, a one-year-old boy and a four-year-old girl.

3) In 2010, I got a number of traffic tickets in a short period of time between March
and May. I did not have a lawyer at the time and did not fight the tickets or the extra surcharges.
Because | could not afford to pay the fines and court costs, the City put me on a payment plan
with a private company called Judicial Correction Services, Inc. I heard them refer to this as
probation. The company said that they were going to charge me a set-up fee and an additional
fee of $40 per month on top of what I owed to the City for my tickets for as long as it took to pay
off the entire amount.

4) I had a lot of trouble making the payments because it was a hard time in my life.

At first, I made a couple of partial payments by scraping together what I could. I was struggling
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financially, and I had given birth to my first child in late November 2009. I stopped making
payments because I could not afford to make them.

5) I think that I stopped making payments in the summer of 2010. According to the
records that I have been told about, the probation company asked for my probation to be revoked
in August 2010.

6) On Sunday January 26, 2014, police officers from the City of Montgomery came
to my home and arrested me. They took me away from my children and told me that it was
because I had unpaid traffic debts.

7) On January 27, 2014, I was brought to the City court. The City did not give me a
lawyer. The judge told me that I now owed the City more than $4,500 in total.

8) The judge told me that I would be released from jail if I could pay what I owed to
the City. I told him that I did not have the money to pay and that I had two young children that I
cared for. The judge ordered me to serve out what I owed to the City at a rate of $50 per day.
The City prosecutor and judge did not even ask me more questions or give me a form to fill out
to explain my lack of money. They just called the next case and sent me back to the City jail.

9) When I got back to the City jail, the guards gave me a piece of paper listing my
tickets and saying that I would have to either pay the City $2,907 or serve 58 days in the City
jail.

10) ‘I was devastated. I was worried about my children being taken away from me. |
did not know what to do, and I cried a lot.

11) The jail staff told me that I could “work off” my fines faster and get out of jail
sooner if I agreed to clean the jail floors and cell bars and perform other janitorial tasks. For

every day that I agreed to work, they would reduce what I owed the City by $25. I was desperate
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to get back to my children and to get out of jail, so I agreed to work on the first day and every
day that I could after that even though what they had me doing was disgusting.

12) There were a lot of other women in the City jail, and most of them were desperate
to get out, so we were all competing with each other to get the cleaning work so that we could
work off our debts more quickly. I started keeping track of how fast I was working off my debt
on the back of the paper that they had given me after court.

13) I saw and talked to a lot of other people in court and in the jail who were also
there because they could not afford to pay the City what they owed for their tickets and fees.

14) | When I was released, the City put me back on a payment plan, and now I have to
pay them $100 per month. If I do not pay them or cannot pay them the total amount, I am
worried that they will put me back in the City jail again.

15) [have been doing people’s hair to make money. It is hard work because I have to
go to different places and braiding shops to do it and because I have to pay for all of my own
supplies. But I am trying my best to get better at it and to make a living for my family. For
example, I have to buy jam, clips, hair combs, hair gel, spritz, moose, flatirons, hairpins, and hair
bands. I also have to find a way to travel around town, which can cost a lot. I have not had a car
since 2010, and I get around using the bus and walking. Before subtracting all of my expenses, I
think that I earned about $14,000 in 2013.

16) It has been very difficult to take care of my two children on that amount of
money. I have been told that we are living well below the federal poverty line, and it feels like
it. My children need food, clothing, medicine, toys, educational materials, and a safe place to
live. I have been dependent on the food stamp program and the WIC program to get enough

healthy food for me and my kids. I also have to pay the utility bills, and we often do not have
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enough money left over to do the kinds of things that make kids happy. We are always living
with the fear that we will not have enough.

17) | last worked about three weeks prior to my arrest, and I think that I earned about
$160 on that occasion. It is sometimes hard to work consistently because someone needs to take
care of my children.

18) | When I was locked up, | missed my appointment to recertify for some of the
benefits that my kids and I receive.

19) [do not have a bank account or own anything of significant value.

I declare under penalty of perjury that the forgoing is true and correct.

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Homa! Michele LLY

Sharnalle Mitchell ‘at
